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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    CITIZENS FOR RESPONSIBILITY AND
    ETHICS IN WASHINGTON,

                 Plaintiff,

         v.                                                  Civil Action No. 25-1768 (ACR)

    CONSUMER FINANCIAL PROTECTION
    BUREAU, et al.,

                 Defendants.


              DEFENDANTS’ REQUEST FOR PRE-MOTION CONFERNECE

        Defendants, the Consumer Financial Protection Bureau (the “Bureau”), the Department of

Education     (the   “Education    Department”),      the   Social   Security    Administration     (the

“Administration”), and the Department of Veterans Affairs (the “VA,” collectively, the

“Defendants”), “request that the Court schedule a pre-motion conference.” See Standing Order

(ECF No. 11) ¶ 7(f).1 Plaintiff Citizens for Responsibility and Ethics in Washington (“CREW”)

submitted identical FOIA requests to each defendant. Compl. (ECF No. 1) ¶¶ 35, 49, 66, 76. The

requests are invalid because they do not “reasonably” describe the records sought. 5 U.S.C. §

552(a)(3)(A). Defendants intend to move to dismiss the complaint on that ground.



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         Defendants understand that filing this pre-motion notice consistent with the Court’s
standing order will prompt the Court to schedule a pre-motion conference and establish a briefing
schedule for any motion resulting from this filing. As such, Defendants understand that the date
for it to file the motion to dismiss under Federal Rule of Civil Procedure 12(b) discussed herein
will be set by further order of the Court, that the filing of this request triggers the timing provisions
of Rule 12(a)(4) such that Defendants’ time to file a responsive pleading has been extended, and
that Defendants have preserved the defenses identified in this request for purposes of Rule 12(b).
If Defendants’ understanding is incorrect, Defendants hereby respectfully move to stay their initial
response deadline pending further order of the Court to allow for the Standing Order’s pre-motion
procedures to conclude.
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       FOIA sets forth two specific requirements for a valid request: that the request

(i) “reasonably” describe the records sought and (ii) comply with any “published rules stating the

time, place, fees (if any), and procedures to be followed.” 5 U.S.C. § 552(a)(3)(A); Dale v. IRS,

238 F. Supp. 2d 99, 103 (D.D.C. 2002). The obligation to process a request only begins upon

receipt of a valid request, i.e., one that satisfies these two requirements. Id. The requirement that

a request “reasonably describe the records sought,” moreover, is set forth in the published

regulations applicable to requests submitted to each agency here. See 12 C.F.R. § 1070.14(c)(1)

(the Bureau’s regulations); 34 C.F.R. § 5.20(b), (c) (the Education Department’s regulations);

20 C.F.R. § 402.30 (the Administration’s regulations); 38 C.F.R. § 1.554(d) (VA’s regulations).

       Here, CREW submitted to the Defendants nearly identical FOIA requests that seek eight

broad categories of records. Compl. (ECF No. 1) ¶¶ 35, 49, 66, 76. By way of example, seven of

the eight categories request “any and all communications between employees of” the agency and

outside persons, groups of persons, or agencies. Id. But the outside actors are undefined.

Category 4 asks for agency communications with “any other individual purporting that they will

in the future have an association with, represent, work for, or communicate on behalf of the

Department of Government Efficiency.” See, e.g., id. ¶ 49. Category 7 similarly asks for agency

communications with “any other individual purporting that they will in the future have an

association with, represent, work for, or communicate on behalf of ‘Delivering Outstanding

Government Efficiency Caucus,’ ‘DOGE Caucus,’ and related terms.” Id. CREW’s FOIA request

amount to “all-encompassing fishing expedition of files” and warrant dismissal. Dale, 238 F.

Supp. 2d at 104-05. At a minimum, the requests require each agency “to undertake research,

analysis, and formulation of opinions—actions not required by FOIA.” Hall & Assocs. v. EPA,




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No. 16-5315, 2018 WL 1896493, at *2 (D.C. Cir. Apr. 9, 2018) (per curiam) (citing Kissinger v.

Reps. Comm. for Freedom of the Press, 445 U.S. 136, 152 (1980)).

       For these reasons, the defendants intend to move to dismiss and request that the Court

schedule a pre-motion conference.

 Dated: July 7, 2025                           Respectfully submitted,
        Washington, DC
                                               JEANINE FERRIS PIRRO
                                               United States Attorney


                                               By:           /s/ Dimitar P. Georgiev
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